                                                     Case 5:20-cv-02255-EJD Document 188 Filed 06/13/23 Page 1 of 9



                                            1   WILLIAM P. DONOVAN, JR. (SBN 155881)                 ERROL J. KING, JR. (pro hac vice)
                                                MCDERMOTT WILL & EMERY LLP                           errol.king@phelps.com
                                            2   wdonovan@mwe.com                                     CRAIG L. CAESAR (pro hac vice)
                                                2049 Century Park East, Suite 3200
                                            3   Los Angeles, CA 90067-3206                           craig.caesar@phelps.com
                                                Telephone:    +1 310 277 4110                        KATHERINE C. MANNINO (pro hac vice)
                                            4   Facsimile:    +1 310 277 4730                        katie.mannino@phelps.com
                                                                                                     TAYLOR J. CROUSILLAC (pro hac vice)
                                            5   JOSHUA B. SIMON (pro hac vice)                       taylor.crousillac@phelps.com
                                                jsimon@mwe.com                                       BRITTANY H. ALEXANDER (pro hac vice)
                                            6   WARREN HASKEL (pro hac vice)                         brittany.alexander@phelps.com
                                                whaskel@mwe.com
                                            7   DMITRIY TISHYEVICH (SBN 275766)                      PHELPS DUNBAR LLP
                                                dtishyevich@mwe.com                                  II City Plaza
                                            8   CAROLINE INCLEDON (pro hac vice)                     400 Convention Street, Suite 1100
                                                cincledon@mwe.com                                    Baton Rouge, Louisiana 70802
                                            9   CHELSEA COSILLOS (pro hac vice)                      Telephone: (225) 376-0207
                                                ccosillos@mwe.com
                                           10   MCDERMOTT WILL & EMERY LLP
                                                One Vanderbilt Avenue                                DENNIS B. KASS (SBN 137263)
                                           11   New York, NY 10017                                   dennis.kass@manningkass.com
MCDERMOTT WILL & EMERY LLP




                                                Telephone:   +1 212 547 5400                         ADAM D. AFSHAR (SBN 330630)
                                           12   Facsimile:   +1 212 547 5444                         adam.afshar@manningkass.com
                        ATTORNEYS AT LAW




                                                                                                     MANNING & KASS, ELLROD,
                          LOS ANGELES




                                           13   Attorneys for Cigna Health & Life Insurance Co.      RAMIREZ, TRESTER LLP
                                                                                                     801 South Figueroa Street, 15th Floor
                                           14
                                                                                                     Los Angeles, CA 90017
                                           15                                                        Telephone: (213) 624-6900
                                                                                                     Facsimile: (213) 624-6999
                                           16
                                                                                                     Attorneys for MultiPlan, Inc.
                                           17

                                           18                                UNITED STATES DISTRICT COURT
                                           19                             NORTHERN DISTRICT OF CALIFORNIA
                                           20   RJ, as the representative of her beneficiary son;
                                                DS, an individual, and on behalf of and all others
                                           21   similarly situated,                                  Case No. 5:20-cv-02255-EJD
                                           22                         Plaintiffs,                    DEFENDANTS’ OPPOSITION TO
                                                                                                     PLAINTIFFS’ MOTION TO STRIKE, OR
                                           23          vs.                                           IN THE ALTERNATIVE MOTION FOR
                                                                                                     LEAVE TO RESPOND TO
                                           24   CIGNA HEALTH AND LIFE INSURANCE                      DEFENDANTS’ OBJECTION
                                                COMPANY, and MULTIPLAN, INC.
                                           25                                                        Courtroom: 4 – 5th Floor
                                                                      Defendants.                    Judge: Hon. Edward J. Davila
                                           26

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                                                DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE, OR IN THE ALTERNATIVE MOTION
                                                FOR LEAVE TO RESPOND TO, DEFENDANTS’ OBJECTION TO EVIDENCE SUBMITTED WITH PLAINTIFFS’
                                                REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION, CASE NO: 5:20-CV-02255
                                                          Case 5:20-cv-02255-EJD Document 188 Filed 06/13/23 Page 2 of 9



                                            1              Defendants Cigna Health and Life Insurance Company (“Cigna”) and MultiPlan, Inc.
                                            2   (“MultiPlan”) hereby submit this opposition to Plaintiffs’ Motion to Strike, or in the Alternative
                                            3
                                                Motion for Leave to Respond to, Defendants’ Objection to Evidence Submitted with Plaintiffs’ Reply
                                            4
                                                in Support of Motion for Class Certification (Dkt. 185, the “Motion to Strike”). Defendants
                                            5
                                                respectfully request that the Court deny Plaintiffs’ Motion to Strike in full, including Plaintiffs’
                                            6

                                            7   request in the alternative for leave to file a response to Defendants’ Objection to Reply Evidence. 1

                                            8                                         RELEVANT BACKGROUND

                                            9              Plaintiffs submitted extensive new evidence with their Reply—two improper and untimely
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                                                expert reports, and five untimely and improper non-party provider declarations. (Dkts. 180-4, 180-
                                           11
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                                                10, and Dkt. 180-30 to 180-35.) Defendants filed an objection to that evidence, as Local Rule 7-
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                                                3(d)(1) authorizes (the “Objection”). (Dkt. 183.) Plaintiffs now move to strike that Objection under
                          LOS ANGELES




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                                                Federal Rule of Civil Procedure 12(f), claiming that the evidence they submitted with their Reply is
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                                           15   not really new; in the alternative, they request leave to file a response to the Objection. (Dkts. 185;

                                           16   185-1).
                                           17                                                  ARGUMENT
                                           18
                                                     I.    Plaintiffs’ Rule 12(f) Motion is Procedurally Improper.
                                           19
                                                           Defendants’ Objection was authorized by Rule 7-3(d)(1), which permits a party to file an
                                           20
                                                Objection to new evidence submitted in reply (as it was here). Plaintiffs’ response was not, however,
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                                                because Rule 7-3(d) does not provide for any opposition or response to that Objection. See, e.g.,
                                           22
                                                Brown v. Calvo, 2005 WL 850837, at *1 (N.D. Cal. Apr. 13, 2005); see also L.R. 7-3(d) (“[o]nce a
                                           23
                                                reply is filed, no additional memoranda, papers or letters may be filed without prior Court approval,”
                                           24
                                                except for (1) objections to new evidence submitted on reply, and (2) statements of recent decision).
                                           25

                                           26   1
                                                    Unless otherwise noted, all emphasis is added, and all internal quotation marks, citations, alterations,
                                           27   and ellipses are omitted. Abbreviations are the same as in Defendants’ Objection.
                                           28
                                                                                                      -1-
                                                DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE, OR IN THE ALTERNATIVE MOTION
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                                                       Case 5:20-cv-02255-EJD Document 188 Filed 06/13/23 Page 3 of 9



                                            1
                                                        Recognizing that Rule 7-3(d) does not permit their response, Plaintiffs rely on Federal Rule
                                            2
                                                of Civil Procedure 12(f) instead. But that rule does not apply here, because under its “express
                                            3
                                                language . . . only pleadings are subject to motions to strike.” Sidney-Vinstein v. A.H. Robins Co.,
                                            4
                                                697 F.2d 880, 885 (9th Cir. 1983); see also Fed. R. Civ. P. 7(a) (defining “pleadings”). Motions and
                                            5
                                                similar papers (like the Objection here) are not pleadings, and courts in this Circuit accordingly hold
                                            6
                                                that Rule 12(f) may not be used as a vehicle to strike such papers. See Kraft v. Old Castle Precast
                                            7
                                                Inc., 2015 WL 11216774, at *2 (C.D. Cal. Aug. 3, 2015) (“to the extent that Kraft relies on the
                                            8
                                                Federal Rules of Civil Procedure as authority for striking defendants’ motions, Federal Rule of Civil
                                            9
                                                Procedure 12(f) provides for motions to strike pleadings, and in turn Fed. R. Civ. P. 7 defines
                                           10
                                                pleadings not to include motions to dismiss . . . or the like”); Renard v. San Diego Unified Port Dist.,
                                           11
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                                                2007 WL 2262853, at *1 (S.D. Cal. Aug. 6, 2007) (denying motion to strike a brief as improper,
                                           12
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                                                because Rule 12(f) only applies to pleadings); Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970,
                          LOS ANGELES




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                                                973-74 (9th Cir. 2010) (holding that district court erred in striking material that did not fit in any of
                                           14
                                                the Rule 12(f) categories).
                                           15
                                                        Because Plaintiffs’ motion to strike is not permitted by Rule 12(f), and because Local Rule
                                           16
                                                7-3(d) does not permit “responses” to 7-3(d)(1) objections, Plaintiffs’ motion should be denied.
                                           17
                                                 II.    Plaintiffs’ Motion to Strike is Based on False Premises.
                                           18
                                                        Defendants’ Objection explained why the rebuttal expert reports and Non-Party Provider
                                           19
                                                Declarations were improper new evidence. (See generally Dkt. 183.) None of Plaintiffs’ arguments
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                                                in their Motion to Strike change this fact.
                                           21
                                                        First, Plaintiffs’ argument that Drs. Luke’s and Piper’s brand-new models are “simply an
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                                                expansion of a damages model Plaintiffs’ experts hypothesized in their initial report” (Dkt. 185 at 2)
                                           23
                                                is wrong—because Drs. Luke and Piper concede that they did not offer any damages models in their
                                           24
                                                initial report. (See Dkt. 180-1 ¶ 55 (“Drs. May and Baker assert RPC did not present a damages
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                                                model in the January RPC Report. We did not because we assumed the damages analysis would
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                                                come during the merits phase of the litigation . . . .”).) Plaintiffs’ argument that their experts have
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                                                DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE, OR IN THE ALTERNATIVE MOTION
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                                                REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION, CASE NO: 5:20-CV-02255
                                                       Case 5:20-cv-02255-EJD Document 188 Filed 06/13/23 Page 4 of 9



                                            1
                                                now simply added “greater detail” to a damages model that did not exist before is irreconcilable with
                                            2
                                                the record. (Dkt. 185 at 2).
                                            3
                                                         At most, as Defendants’ Objection pointed out, Drs. Luke’s and Piper’s initial report
                                            4
                                                theorized that one conceivably could use Cigna’s own data to calculate alternative percentile values
                                            5
                                                – but they had not actually done so. (See, e.g., Dkt. 166 at 3 (“[Plaintiffs] contend that the Viant
                                            6
                                                database was invalid, but neither they nor their experts propose an alternative method of calculating
                                            7
                                                MRC1 amounts”); id. at 19.) Plaintiffs’ decision to “respond[] to [Cigna’s] identified omission[s]
                                            8
                                                with new work is not proper rebuttal.” Matthew Enter., Inc. v. Chrysler Grp. LLC, 2016 WL
                                            9
                                                4272430, at *3 (N.D. Cal. Aug. 15, 2016) (excluding reply report with new calculations that were
                                           10
                                                not part of the expert’s initial report); see also Werdebaugh v. Blue Diamond Growers, 2014 WL
                                           11
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                                                7148923, at *8 (N.D. Cal. Dec. 15, 2014) (excluding supplemental report that was “based on a new,
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                                                changed methodology and result[ed] in significant changes . . . .”). Moreover, the initial RPC report
                          LOS ANGELES




                                           13
                                                did not present, discuss, or “hypothesize” any potential damages model that could be used to
                                           14
                                                determine the “additional revenue” Defendants collected from cost containment fees, making it
                                           15
                                                unclear how Plaintiffs can plausibly allege that the New RPC Report merely expands on existing
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                                                damages model(s). (Dkt. 148-7.)
                                           17
                                                         Plaintiffs’ argument that Drs. Luke and Piper utilized “newly acquired data” introduced with
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                                                Defendants’ opposition is also unavailing. (Dkt. 185 at 2.) As Defendants showed in their Objection,
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                                                and Plaintiffs do not dispute, the purportedly “new” information that Drs. Luke and Piper received
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                                                about geographic areas was not even produced in this case, and instead came from Sean Crandell’s
                                           21
                                                declaration in the related LD, et al. v. United Behavioral Health matter. Drs. Luke and Piper had
                                           22
                                                access to Sean Crandell’s declaration months before Defendants’ opposition was due, and also admit
                                           23
                                                they actually relied on that information in drafting their initial report. (See Dkt. 148-7 at 41.) 2
                                           24
                                                Plaintiffs argue that “[t]he fact that [this evidence] may have been evidence—under seal—in an
                                           25

                                           26   2
                                                    Furthermore, Plaintiffs could also have requested, and received, that information in discovery at
                                           27
                                                any prior point in this case, and have failed to offer justification for why they did not.
                                           28
                                                                                                   -3-
                                                DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE, OR IN THE ALTERNATIVE MOTION
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                                                       Case 5:20-cv-02255-EJD Document 188 Filed 06/13/23 Page 5 of 9



                                            1
                                                unrelated case does not mean that it was available as evidence in this case.” (Dkt. 185 at 4.) But
                                            2
                                                Plaintiffs should not be able to use the Crandell declaration as both a sword and shield, and to allow
                                            3
                                                Drs. Luke and Piper to utilize that declaration in support of their initial report while arguing that they
                                            4
                                                could not have used the data within it to generate a damages model.
                                            5
                                                          Plaintiffs also cannot rely on the Ninth Circuit’s decision in Wit v. United Behavioral Health,
                                            6
                                                58 F.4th 1080 (9th Cir. 2023) as somehow justifying their belated damages models. Wit did not break
                                            7
                                                any new ground on this point, because the Supreme Court made it clear a decade ago that Rule 23(b)
                                            8
                                                requirements must be met with “evidentiary proof”—typically, a damages model. See Comcast
                                            9
                                                Corp. v. Behrend, 569 U.S. 27, 33 (2013); see also Bruton v. Gerber Prod. Co., 2018 WL 1009257,
                                           10
                                                at *12 (N.D. Cal. Feb. 13, 2018) (denying motion for class certification where the damages models
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                                                presented failed to satisfy Comcast).
                                           12
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                                                          Separately, Defendants objected to Plaintiffs’ expert rebuttal class certification reports on the
                          LOS ANGELES




                                           13
                                                grounds that they are not permitted by the Parties’ Case Management Order, nor are Plaintiffs
                                           14
                                                permitted to expert rebuttal reports as of right. (Dkt. 183 at 2-3 (“Plaintiffs never asked for, nor did
                                           15
                                                the Case Management Order give them leave, to submit rebuttal class certification expert reports to
                                           16
                                                Defendants’ experts”) (citing Dkt. 78, as modified Dkts. 99, 128, 162)); see also Stoyas v. Toshiba
                                           17
                                                Corp., 2022 WL 19406, at *2 (C.D. Cal. Jan. 3, 2022) (striking reply expert report where one was
                                           18
                                                not contemplated by the scheduling order or briefing schedule for class certification). Plaintiffs do
                                           19
                                                not address or rebut this argument at all in their Motion to Strike, effectively conceding the point. 3
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                                                          Additionally, Defendants’ Objection also avoided any further legal argument in opposition to
                                           21
                                                Plaintiffs’ motion for class certification, as required by Local Rule 7-3(d). Plaintiffs claim that the
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                                                Objection improperly included “legal arguments” about the importance of determining whether
                                           23
                                                members received and paid a balance bill and whether Viant OPR rates constitute offers, to which
                                           24

                                           25   3
                                                    As the Case Management Order sets forth expert disclosure deadlines, the default expert disclosure
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                                                deadlines under Rule 26 are not applicable. (Dkt. 185 at 2-3); see Rule 26(a)(2)(D) (referencing that
                                           27
                                                it only applies “[a]bsent a stipulation or a court order . . .”).
                                           28
                                                                                                     -4-
                                                DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE, OR IN THE ALTERNATIVE MOTION
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                                                REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION, CASE NO: 5:20-CV-02255
                                                       Case 5:20-cv-02255-EJD Document 188 Filed 06/13/23 Page 6 of 9



                                            1
                                                Plaintiffs needed to submit non-party provider declarations in response. (Dkt. 185 at 3.) But the
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                                                Objection did not present any legal arguments on these issues; instead, Defendants simply pointed
                                            3
                                                out that these have been key issues since the inception of this case, making Plaintiffs’ decision to
                                            4
                                                raise them for the first time on reply – when Defendants cannot respond – improper. (Dkt. 183 at 3-
                                            5
                                                5.)
                                            6
                                                III.    Plaintiffs Misrepresent the Parties’ Interactions
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                                                        Finally, Plaintiffs mischaracterize the series of events that precipitated Defendants’ filing of
                                            8
                                                their 7-3(d)(1) Objection. (See Dkt. 185 at 3, 185-1 at 1.) On May 17, 2023 – the day after receiving
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                                                Plaintiffs’ reply – Defendants informed counsel for Plaintiffs that the new evidence submitted with
                                           10
                                                the reply was improper and untimely, and that Defendants intended to file an objection to all of the
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                                                new material and move to strike them unless Plaintiffs voluntarily agreed to do so. Plaintiffs stated
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                                                that they believed all evidence submitted with their Reply was appropriate, and that they would not
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                                                agree to strike the new evidence, but that they were willing to meet and confer. In light of Plaintiffs’
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                                                intractable position, and given that Rule 7-3(d)(1) does not require the parties to meet and confer
                                           15
                                                before filing an Objection, Defendants did not believe a meet and confer would be productive and
                                           16
                                                proceeded with timely filing their Objection.
                                           17
                                                        The parties later met and conferred on May 24, 2023 on an unrelated issue regarding
                                           18
                                                redactions made to exhibits Plaintiffs filed in connection with their Reply. At no point during that
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                                                meet and confer did Plaintiffs indicate that they would be filing a motion to strike Defendants’
                                           20
                                                objection; instead, Defendants first learned about the motion to strike when it was filed on May 30,
                                           21
                                                2023. During the May 24, 2023 meet and confer, Plaintiffs stated that they were willing to get their
                                           22
                                                experts’ availability for depositions. In response, Defendants stated that their position is that both of
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                                                Plaintiffs’ experts’ rebuttal reports were improperly filed, because the scheduling order does not
                                           24
                                                allow for class certification rebuttal expert reports and because the reports contain new evidence, and
                                           25
                                                that they therefore should be excluded. Defendants further noted that if the Court does decide to
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                                                consider the expert rebuttal reports and grants Defendants leave to depose these experts, Defendants
                                           27
                                                will proceed with any depositions then.
                                           28
                                                                                                   -5-
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                                                REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION, CASE NO: 5:20-CV-02255
                                                     Case 5:20-cv-02255-EJD Document 188 Filed 06/13/23 Page 7 of 9



                                            1
                                                                                           CONCLUSION
                                            2
                                                       For the foregoing reasons, Plaintiffs’ motion to strike should be denied, as should their
                                            3
                                                request, in the alternative, for leave to file a response to Defendants’ 7-3(d)(1) Objection.
                                            4

                                            5   Dated: June 13, 2023                       Respectfully submitted,
                                            6                                              By: /s/ Warren Haskel
                                            7                                                    WARREN HASKEL

                                            8                                              WILLIAM P. DONOVAN, JR. (SBN 155881)
                                                                                           MCDERMOTT WILL & EMERY LLP
                                            9                                              wdonovan@mwe.com
                                                                                           2049 Century Park East, Suite 3200
                                           10                                              Los Angeles, CA 90067-3206
                                           11                                              Telephone:    +1 310 277 4110
MCDERMOTT WILL & EMERY LLP




                                                                                           Facsimile:    +1 310 277 4730
                                           12
                        ATTORNEYS AT LAW




                                                                                           JOSHUA B. SIMON (admitted pro hac vice)
                          LOS ANGELES




                                           13                                              WARREN HASKEL (admitted pro hac vice)
                                                                                           DMITRIY TISHYEVICH (SBN 275766)
                                           14
                                                                                           CAROLINE INCLEDON (admitted pro hac vice)
                                           15                                              CHELSEA COSILLOS (admitted pro hac vice)
                                                                                           MCDERMOTT WILL & EMERY LLP
                                           16                                              jsimon@mwe.com
                                                                                           whaskel@mwe.com
                                           17                                              dtishyevich@mwe.com
                                                                                           cincledon@mwe.com
                                           18
                                                                                           ccosillos@mwe.com
                                           19                                              One Vanderbilt Avenue
                                                                                           New York, NY 10017
                                           20                                              Telephone:   +1 212 547 5400
                                                                                           Facsimile:   +1 212 547 5444
                                           21
                                                                                           Attorneys for Defendant Cigna Health and Life
                                           22
                                                                                           Insurance Company
                                           23
                                                                                           By: /s/ Errol J. King, Jr.
                                           24                                              ERROL J. KING, JR. (admitted pro hac vice)
                                                                                           KATHERINE C. MANNINO (admitted pro hac vice)
                                           25                                              TAYLOR J. CROUSILLAC (admitted pro hac vice)
                                           26                                              BRITTANY H. ALEXANDER (admitted pro hac vice)
                                                                                           PHELPS DUNBAR LLP
                                           27                                              errol.king@phelps.com
                                                                                           katie.mannino@phelps.com
                                           28
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                                                    Case 5:20-cv-02255-EJD Document 188 Filed 06/13/23 Page 8 of 9



                                            1                                      taylor.crousillac@phelps.com
                                                                                   brittany.alexander@phelps.com
                                            2                                      II City Plaza
                                            3                                      400 Convention Street, Suite 1100
                                                                                   Baton Rouge, Louisiana 70802
                                            4                                      Telephone: (225) 376-0207
                                                                                   Fax: (225) 381-9197
                                            5
                                                                                   CRAIG L. CAESAR (admitted pro hac vice)
                                            6                                      PHELPS DUNBAR LLP
                                            7                                      craig.caesar@phelps.com
                                                                                   365 Canal Street, Suite 2000
                                            8                                      New Orleans, Louisiana 70130
                                                                                   Telephone: (504) 584-9272
                                            9                                      Fax: (504) 568-9130
                                           10
                                                                                   and
                                           11
MCDERMOTT WILL & EMERY LLP




                                                                                   DENNIS B. KASS (SBN 137263)
                                           12                                      MANNING & KASS, ELLROD, RAMIREZ,
                        ATTORNEYS AT LAW




                                                                                   TRESTER LLP
                          LOS ANGELES




                                           13                                      dennis.kass@manninkass.com
                                                                                   801 South Figueroa Street, 15th Floor
                                           14
                                                                                   Los Angeles, CA 90017
                                           15                                      Telephone: (213) 624-6900
                                                                                   Facsimile: (213) 624-6999
                                           16
                                                                                   ADAM D. AFSHAR (SBN 330630)
                                           17                                      MANNING & KASS, ELLROD, RAMIREZ,
                                                                                   TRESTER LLP
                                           18
                                                                                   adam.afshar@manningkass.com
                                           19                                      One California Street, Suite 900
                                                                                   San Francisco, CA 94111
                                           20                                      Telephone: (415) 217-6900
                                                                                   Facsimile: (415) 217-6999
                                           21

                                           22                                      Attorneys for Defendant MultiPlan, Inc.

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                                                     Case 5:20-cv-02255-EJD Document 188 Filed 06/13/23 Page 9 of 9



                                            1                    ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1

                                            2          Pursuant to Civil Local Rule 5-1(h)(3) of the Northern District of California, I attest that
                                                concurrence in the filing of the document has been obtained from each of the signatories to this
                                            3   document.

                                            4

                                            5   Dated: June 13, 2023                                    /s/ Warren Haskel
                                                                                                        Warren Haskel
                                            6

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